                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN


JUSTIN BLAKE,

        Plaintiff,

        v.                                                   Case No. 22-CV-970

DAVID BETH in his individual and official
capacity,
COUNTY OF KENOSHA a municipal corporation,
KYLE BISSONNETTE in his individual and official capacity,
JACOB DiCELLO in his individual and official capacity,
GLORIA GALVAN in her individual and official capacity,
DEREEMEYUN HAYNES in his individual and official capacity,
JEREMY MAY in his individual and official capacity,
JESSICA BERGMANN in her individual and official capacity,
VISITING NURSE CARE, INC.,
KENOSHA VISITING NURSE ASSOCIATION,
JOHN DOE OFFICERS in the Kenosha County
Sheriff’s Department 1-10,
JANE DOE MEDICAL PROFESSIONALS in their
individual and official capacities
WISCONSIN COUNTY MUTUAL INSURANCE
COMPANY, and
ABC INSURANCE COMPANY,

        Defendants.


                          DECLARATION OF BRIANNA J. MEYER


        I, Brianna Meyer declare pursuant to 28 U.S.C. §1746, and under penalty of perjury that the

following is true and correct:

        1.       I am an attorney licensed to practice and am in good standing in the State of

Wisconsin.




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          2.     I am one of the attorneys representing defendants David Beth, County of Kenosha,

Kyle Bissonnette, Jacob DiCello, Gloria Galvan, Dereemeyun Haynes, Jeremy May and Wisconsin

Municipal Mutual Insurance Company in the above-captioned matter.

          3.     I make this declaration based upon my personal knowledge of the facts attested to

herein.

          4.     Attached hereto as Exhibit A is a true and accurate copy of Plaintiff’s Rule 26(a)(1)

Initial Disclosures sent on November 30, 2022.

          5.     Attached hereto as Exhibit B is a true and accurate copy of Plaintiff’s Amended Rule

26(a)(1) Initial Disclosures sent on March 22, 2024.

          6.     Attached hereto as Exhibit C is a true and accurate copy of Plaintiff’s Amended Rule

26(a)(1) Initial Disclosures sent on January 6, 2025.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


                                               Executed this 29th day of April, 2025.


                                                /s Brianna J. Meyer
                                                BRIANNA J. MEYER
                                                State Bar No. 1098293




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